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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Honorable Marcia S. Krieger

 Criminal Action No. 11-cr-00355-MSK

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 1. WAUNITA WEINGART
 2. JOHN PHILLIP GALLEGOS
 3. ALOIS CRAIG WEINGART

                Defendants.


      ORDER AND NOTICE OF CHANGE OF PLEA AND SENTENCING HEARINGS


        THIS MATTER comes before the Court following the filing of a Notice of Disposition

 (#221) on February 19, 2013, by Defendant Alois Craig Weingart. The Court construes this

 Notice as a motion to change his/her plea and to have the Court consider the terms of the parties’

 plea agreement.

        IT IS THEREFORE ORDERED that:

        1.      Pursuant to 18 U.S.C. § 3161(h)(1)(F) and (I), the speedy trial clock is tolled

                pending determination of those matters.

        2.      A Change of Plea hearing is set for April 8, 2013, at 10:00 a.m. and a Sentencing

                hearing is set for July 8, 2013, at 10:30 a.m. in the United States District Court

                for the District of Colorado, Courtroom A901, Alfred A. Arraj U.S. Courthouse,
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                   901 19th Street, Denver, Colorado.1

          3.       The final trial preparation conference set for March 13, 2013, and the March 18,

                   2013, trial date are VACATED.

          DATED this 21st day of February, 2013.


                                                                BY THE COURT:




                                                                Marcia S. Krieger
                                                                Chief United States District Judge




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             In criminal cases originating from the Grand Junction or Durango Jury Divisions of this Court, counsel
 shall be prepared to advise the Court at the time of the change of plea hearing whether a written request to have the
 sentencing hearing conducted at the courthouse in either Grand Junction or Durango will be filed. See
 Administrative Order 2007-8.
